                 Case 8:17-cv-01596-PJM Document 73 Filed 12/15/17 Page 1 of 1


                                     UNITED STATES DISTRICT COURT
                                        DISTRICT OF MARYLAND

    PETER J. MESSITTE                                                              6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                     GREENBELT, MARYLAND 20770
                                                                                          301-344-0632




                                                MEMORANDUM

       TO:            Counsel of Record

       FROM:          Judge Peter J. Messitte

       RE:            The District of Columbia et al. v. Trump
                      Civil No. PJM 17-1596

       DATE:          December 15, 2017

                                                      ***

       The Court is prepared to devote a full day to argument on Defendant’s Motion to Dismiss,
       running from approximately 10:00 a.m. to 1:00 p.m. and 2:00 p.m. to 4:30 p.m., with lunch from
       1:00 p.m. to 2:00 p.m. In preparation for oral argument, counsel for the parties are directed to
       consult and reach an agreement as to the division of time for argument, indicating who the
       speakers will be during each time segment and report the agreement to the Court by January 11,
       2018. Counsel should also notify the Court as to the number of counsel who will be sitting at
       counsel table, so that the proper arrangements can be made prior to the hearing.

       At this time, the Court does not contemplate hearing argument from any amici curiae.
       Accordingly, the Court urges counsel for the parties to be prepared to discuss any issues raised in
       the amici curiae briefs.

       Despite the informal nature of this ruling, it shall constitute an Order of the Court and the Clerk
       is directed to docket it accordingly.


                                                                       /s/
                                                                  PETER J. MESSITTE
                                                            UNITED STATES DISTRICT JUDGE
       cc:     Court File
